Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 1 of 11 Page ID #:146




                     Exhibit “A”
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 2 of 11 Page ID #:147
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 3 of 11 Page ID #:148
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 4 of 11 Page ID #:149




                     Exhibit “B”
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 5 of 11 Page ID #:150
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 6 of 11 Page ID #:151
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 7 of 11 Page ID #:152
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 8 of 11 Page ID #:153
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 9 of 11 Page ID #:154
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 10 of 11 Page ID
                                  #:155
Case 2:19-cv-04776-DSF-PJW Document 25-1 Filed 09/30/19 Page 11 of 11 Page ID
                                  #:156
